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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION


  NORTH AMERICA MACHINERY                      §
  LLC,                                         §
             Plaintiff,                        §
                                               §          CIVIL ACTION NO.___________
  VS.                                          §
                                               §
  SPEAK2VOICE LLC and RAHIM                    §
  RAJWANI                                      §
          Defendants.

                                     EXHIBIT INDEX


Certified Copies of the Docket Sheet and all pleadings filed in the State Court Action ………………A
List of Attorneys ………………………………………………………………………………… B
State Court Notice of Removal …………………………………………………………………… C
Individual Defendant’s Sworn Affidavit ………………………………………………………….. D




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